UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

x
DANIELLE KURIN, :
Plaintiff,
: ORDER REGARDING
Vv. : SEALED DOCUMENTS
MICHAEL BALTER, : 20 CV 4613 (VB)
Defendant. :
x

 

The Court having entered a protective order, (Doc. #42), which, among other things,
provides for the filing of documents under seal, it is further ORDERED:

1. The parties shall consult and comply with the instructions for filing documents under
seal, as set forth in: (i) Section 6 of the Court’s Electronic Case Filing Rules &
Instructions; (ii) the Court’s “Sealed Records Filing Instructions,” available at
https://nysd.uscourts.gov/programs/records; and (iii) Judge Briccetti’s Individual
Practices.

2. A full and unredacted courtesy copy of any submission of documents electronically
filed under seal shall be provided to Chambers as soon as practicable, marked
“Chambers Copy” and “Contains Confidential Information Filed Under Seal.”

Dated: June 9, 2021
White Plains, NY

SO ORDERED:

Vu

Vincent L. Briccetti
United States District Judge

 

 

 
